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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

FRANK BRETT,

                         Plaintiff,

v.                                                           Case No: 6:14-cv-426-Orl-36DAB

JENKINS, UNKNOWN 2ND BLACK US
MARSHAL MAN and PHIL, PA. US
MARSHAL STEVE UNKNOWN,

                         Defendants.
                                             /

                                            ORDER

       This cause comes before the Court upon the Report and Recommendation filed by

Magistrate Judge David A. Baker on March 20, 2014 (Doc. 6).                  In the Report and

Recommendation, Magistrate Judge Baker recommends that the Court deny Plaintiff’s Motion to

Proceed In Forma Pauperis and Motion to Appoint Counsel, as Plaintiff’s complaint is

incomprehensible, states no cause of action, and is frivolous.       The Magistrate Judge also

recommends that the case be dismissed with prejudice. Plaintiff was furnished a copy of the Report

and Recommendation and afforded the opportunity to file objections pursuant to 28 U.S.C. §

636(b)(1). No such objections were filed.

       Upon consideration of the Report and Recommendation, and upon this Court's independent

examination of the file, it is determined that the Report and Recommendation should be adopted.

Accordingly, it is now

       ORDERED AND ADJUDGED:

       (1)     The Report and Recommendation of the Magistrate Judge (Doc. 6) is adopted,

               confirmed, and approved in all respects and is made a part of this Order for all

               purposes, including appellate review.
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      (2)    Plaintiff’s Motion to Proceed In Forma Pauperis (Doc.2) is DENIED.

      (3)    Plaintiff’s Motion for Court Appointed Counsel and for Leave to File 43 Tapes

             (Doc. 3) is DENIED.

      (4)    This case is DISMISSED, with prejudice.

      (5)    The Clerk is directed to terminate all pending motions and close this file.

      DONE AND ORDERED at Orlando, Florida on April 25, 2014.




Copies to:
The Honorable David A. Baker
Counsel of Record




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